           Case 25-01151-abl         Doc 5-1        Entered 06/27/25 15:48:27                  Page 1 of 2


From:             Louis Bubala
To:               graham@nvbankruptcyattorneys.com
Cc:               Justin.C.Valencia@usdoj.gov; cdjang@buchalter.com; Knepper Matthew; Gougeon Brenden;
                  lu@nvbankruptcyattorneys.com
Subject:          Re: OST Request - Adversary 25-01151-abl, Case 24-15588-abl (MSHinges.com)
Date:             Friday, June 27, 2025 3:06:13 PM


Mr. Knepper,

We do not consent. I write to provide you with the courtesy of the basis of our response.
Please attach this email to any request you file for an order shortening time to hear your
motion.

There has been no communication from you with Ms. Djang or me regarding this complaint
filed today, nor about any motion that as of this writing at 3:00 pm. We also have not seen the
proposed motion, let alone know the purported grounds for the request.

You are asking for a hearing on Friday afternoon for a hearing on Monday. The proposal is
simply unworkable, particularly as Ms Djang (lead counsel with the client relationship) is out
of town today. We are unable to reasonably communicate and prepare a strategy with our
client for a brief and argument before the hearing in roughly 8 business hours.

Finally, we do not agree that there is good cause for a emergency hearing. This case was filed
last year. The motion for stay relief was filed and noticed, opposed and argued. The court
already found cause to modify the stay. Your client, prior counsel and you have been well
appraised of the intent to foreclose before and after the ruling, and your client were properly
noticed about the foreclosure. Your client, prior counsel and you opted to file and move
forward with a motion for reconsideration, which we opposed. You did not reply, and the
court heard the matter as scheduled. Your client has been afforded all of its rights through the
bankruptcy case and under state law. Any emergency is now of your client's own making. That
does not warrant an emergency hearing to try to take another bite of the apple.




Louis M. Bubala III
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C/ 775 223 7641
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        On Jun 27, 2025, at 2:23ௗPM, graham@nvbankruptcyattorneys.com wrote:



              IRONSCALES couldn't recognize this email as this is the first time you received an
              email from this sender graham@nvbankruptcyattorneys.com


        Good Afternoon,
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Our office intends to file motion for a temporary restraining order in the above
referenced adversary proceeding, and request the matter be heard Monday, June
30 at 3:30 PM. Please let us know if you have any opposition to the matter being
heard on shortened notice.

Best,

Graham Waring
Law Clerk
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Nevada Bankruptcy Attorneys LLC
5502 S Fort Apache Road, Suite 200
Las Vegas, NV 89148
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